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 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                   2:19-MC-00053-TLN-CKD
12                  Plaintiff,
13          v.                                   STIPULATION AND ORDER EXTENDING TIME
                                                 FOR FILING A COMPLAINT FOR FORFEITURE
14   2011 BMW 328I, VIN:                         AND/OR TO OBTAIN AN INDICTMENT
     WBAPH7C53BE460537, NEVADA LICENSE           ALLEGING FORFEITURE
15   NUMBER 002F10,
16   1972 CHEVROLET CHEYENNE, VIN:
     CKE242Z132361, CALIFORNIA LICENSE
17   NUMBER 11103Z1,
18   2013 BMW 328I, VIN:
     WBA3C1C59DF437139, NEVADA LICENSE
19   NUMBER 187LUR,
20   1982 CHEVROLET CAMARO Z28, VIN:
     1G1AP87H4CL116100, CALIFORNIA
21   LICENSE NUMBER 1ELA341,
22   1972 GMC TRUCK, VIN: TCE242Z515922,
     CALIFORNIA LICENSE NUMBER 1T51268,
23
     2018 BENNINGTON PONTOON BOAT
24   WITH TRAILER, VIN: ETWF4636L718,
     CALIFORNIA LICENSE NUMBER 4RT9953,
25
     2013 DODGE RAM, VIN:
26   3C6UR5HL2DG558010, CALIFORNIA
     LICENSE NUMBER 44279K1,
27
     1970 PLYMOUTH SATELLITE
28   BELVEDERE, VIN: RS23U0E128051,
29
                                                               Stipulation and Order to Extend Time to File
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 1   CALIFORNIA LICENSE NUMBER
     4GAV377,
 2
     1930 CORD L29 BROUGHAM, VIN:
 3   FDA1785, CALIFORNIA LICENSE
     NUMBER 4TXV139,
 4
     1959 CHRISCRAFT 1017 BOAT WITH
 5   TRAILER, VIN: CL180793, CALIFORNIA
     LICENSE NUMBER 5474AM,
 6
     1993 HUMMER, VIN: 137XE8239PE134334,
 7   CALIFORNIA LICENSE NUMBER 56006T1,
 8   2018 DODGE RAM, VIN:
     3C6UR5CL3JG169184, CALIFORNIA
 9   LICENSE NUMBER 60838K2,
10   2018 DODGE RAM, VIN:
     3C6UR5CL0JG169188, CALIFORNIA
11   LICENSE NUMBER 60839K2,
12   2018 DODGE RAM, VIN:
     3C6UR5CL3JG169189, CALIFORNIA
13   LICENSE NUMBER 60840K2,
14   2018 DODGE RAM, VIN:
     3C6UR5CL3JG169181, CALIFORNIA
15   LICENSE NUMBER 60841K2,
16   2018 DODGE RAM, VIN:
     3C6UR5CL3JG169182, CALIFORNIA
17   LICENSE NUMBER 60842K2,
18   2018 DODGE RAM, VIN:
     3C6UR5CL3JG169185, CALIFORNIA
19   LICENSE NUMBER 60843K2,
20   2014 DODGE RAM, VIN:
     3C6UR5FL1EG233322, CALIFORNIA
21   LICENSE NUMBER 64962S1,
22   2015 DODGE RAM, VIN:
     3C6UR5CL2FG502255, CALIFORNIA
23   LICENSE NUMBER 64971S1,
24   2017 CADILLAC CTS-V, VIN:
     1G6A15S67H0183167, NEVADA LICENSE
25   NUMBER 658F22,
26   2018 DODGE CHALLENGER SRT DEMON,
     VIN: 2C3CDZH95JH100279, NEVADA
27   LICENSE NUMBER 659F22,
28

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 1   1970 PLYMOUTH SUPERBIRD, VIN:
     RM23V0A167083, CALIFORNIA LICENSE
 2   NUMBER 6DVY570,
 3   2012 JAGUAR XKR, VIN:
     SAJWA4DC7CMB44732, CALIFORNIA
 4   LICENSE NUMBER 6YOX011,
 5   2015 HONDA CRF 250R, VIN:
     JH2ME1035FK201853, CALIFORNIA
 6   LICENSE NUMBER 74KH63,
 7   1967 AUTOBIANCHI PANORAMICA
     WAGON, VIN: 120B142281, CALIFORNIA
 8   LICENSE NUMBER 7BEM152,
 9   1971 DODGE SUPER BEE, VIN:
     WM23V1A173563, CALIFORNIA LICENSE
10   NUMBER 7DLR984,
11   2014 JAGUAR XK, VIN:
     SAJWA4HA5EMB52629, CALIFORNIA
12   LICENSE NUMBER 7FDR207,
13   2014 FIAT 500, VIN: 3C3CFFCR1ET288120,
     CALIFORNIA LICENSE NUMBER
14   7GWT291,
15   2014 TESLA MODEL S, VIN:
     5YJSA1H15EFP51645, CALIFORNIA
16   LICENSE NUMBER 7HGR947,
17   2014 TESLA MODEL S, VIN:
     5YJSA1H26EFP68172, CALIFORNIA
18   LICENSE NUMBER 7JSS179,
19   2015 DODGE CHALLENGER SRT, VIN:
     2C3CDZC98FH713883, CALIFORNIA
20   LICENSE NUMBER 7KBZ711,
21   2015 DODGE CHALLENGER SRT, VIN:
     2C3CDZDJ8FH809540, CALIFORNIA
22   LICENSE NUMBER 7KXJ876,
23   2015 DODGE CHALLENGER SRT
     HELLCAT, VIN: 2C3CDZC94FH887952,
24   CALIFORNIA LICENSE NUMBER
     7NHW077,
25
     1964 AUSTIN COOPER, VIN:
26   AA257L535515A, CALIFORNIA LICENSE
     NUMBER 7SDS787,
27

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     1993 HUMMER H1, VIN:
 1   137XE8332PE134593, CALIFORNIA
     LICENSE NUMBER 7VKM941,
 2
     1969 PLYMOUTH ROADRUNNER, VIN:
 3   RM23H9E153996, CALIFORNIA LICENSE
     NUMBER 7VKN032,
 4
     1966 CHEVROLET CHEVELLE SS, VIN:
 5   138176A119342, CALIFORNIA LICENSE
     NUMBER 7WFU475,
 6
     1964 FIAT NUOVA, VIN: 764686,
 7   CALIFORNIA LICENSE NUMBER
     7WFU476,
 8
     1970 PLYMOUTH BARRACUDA, VIN:
 9   BS23J0B303477, CALIFORNIA LICENSE
     NUMBER 7WFU477,
10
     1939 CADILLAC IMPERIAL TOURING
11   SEDAN, VIN: 3290914, CALIFORNIA
     LICENSE NUMBER 7WFU478,
12
     1967 CHRYSLER 300 CONVERTIBLE, VIN:
13   CM27K73147483, CALIFORNIA LICENSE
     NUMBER 7WFU726,
14
     1967 OLDSMOBILE CUTLASS, VIN:
15   338077M149183, CALIFORNIA LICENSE
     NUMBER 7WFU727,
16
     1993 AM GENERAL MILITARY VEHICLE,
17   VIN: TEX114199, CALIFORNIA LICENSE
     NUMBER 7WTU606,
18
     1971 CHEVROLET CAMARO Z28, VIN:
19   124871N517540, CALIFORNIA LICENSE
     NUMBER 7WTU607,
20
     1965 PLYMOUTH FURY LAPD TRIBUTE,
21   VIN: P152236018, CALIFORNIA LICENSE
     NUMBER 7WTU782,
22
     1991 AM GENERAL M998, VIN: TEX114208,
23   CALIFORNIA LICENSE NUMBER
     7WTU783,
24
     1965 FIAT 600, VIN: 1949816, CALIFORNIA
25   LICENSE NUMBER 7XAU162,
26   1970 PLYMOUTH BARRACUDA, VIN:
     BS23J0B298749, CALIFORNIA LICENSE
27   NUMBER 7XAU163,
28

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 1   1970 PLYMOUTH SUPERBIRD, VIN:
     RM23V0A170197, CALIFORNIA LICENSE
 2   NUMBER 7XSV702,
 3   1961 VOLKSWAGEN BEETLE, VIN:
     3696311, CALIFORNIA LICENSE NUMBER
 4   7XSV703,
 5   1969 DODGE CHARGER 500, VIN:
     XX29J9B164192, CALIFORNIA LICENSE
 6   NUMBER 7XSV704,
 7   1969 CHEVROLET CAMARO, VIN:
     124379N635549, CALIFORNIA LICENSE
 8   NUMBER 7XSV706,
 9   1967 DODGE DART, VIN: LL21B72329178,
     CALIFORNIA LICENSE NUMBER
10   7XSV707,
11   1966 CHEVROLET CHEVELLE, VIN:
     136176A118169, CALIFORNIA LICENSE
12   NUMBER 7XSV708,
13   1932 FORD ROADSTER, VIN: OR83925,
     CALIFORNIA LICENSE NUMBER
14   7XSV709,
15   1970 DODGE CHALLENGER, VIN:
     JS29V0B141330, CALIFORNIA LICENSE
16   NUMBER 7XSV772,
17   1968 CHEVROLET CAMARO, VIN:
     124378N440580, CALIFORNIA LICENSE
18   NUMBER 7XSV773,
19   2017 CHEVROLET VOLT, VIN:
     1G1RD6S56HU191587, CALIFORNIA
20   LICENSE NUMBER 7ZRE805,
21   2013 DODGE RAM, VIN:
     1C6RR6KT1DS532270, CALIFORNIA
22   LICENSE NUMBER 80507H1,
23   2017 BENTLEY CONTINENTAL GT, VIN:
     SCBFH7ZA6HC063107, CALIFORNIA
24   LICENSE NUMBER 8ACL402,
25   1982 CHEVROLET CAMARO Z28, VIN:
     1G1AP87H4CL116100, CALIFORNIA
26   LICENSE NUMBER 1ELA341,
27   2017 CHEVROLET VOLT, VIN:
     1G1RD6S56HU191587, CALIFORNIA
28   LICENSE NUMBER 7ZRE805,
29
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30
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 1   2013 DODGE RAM, VIN:
     1C6RR6KT1DS532270, CALIFORNIA
 2   LICENSE NUMBER 80507H1,
 3   2018 CHEVROLET VOLT, VIN:
     1G1RD6S58JU116623, CALIFORNIA
 4   LICENSE NUMBER 8CBD635,
 5   2018 CHEVROLET VOLT, VIN:
     1G1RD6S55JU113937, CALIFORNIA
 6   LICENSE NUMBER 8CBD637,
 7   2007 DODGE RAM, VIN:
     1D7HA16N47J619123, CALIFORNIA
 8   LICENSE NUMBER 8N08892,
 9   2018 DODGE RAM, VIN:
     3C6UR5CL9JG169187, CALIFORNIA
10   LICENSE NUMBER 99980J2,
11   1948 CHEVROLET PANEL VAN, VIN:
     FBA310883, CALIFORNIA LICENSE
12   NUMBER E21778,
13   2002 DODGE VIPER, VIN:
     1B3ER65E32V102144, CALIFORNIA
14   LICENSE NUMBER T642880,
15   1935 CHRYSLER AIRFLOW, VIN: 6605776,
     CALIFORNIA LICENSE NUMBER T643087,
16
     2007 FORD MUSTANG SHELBY GT 500
17   SUPERSNAKE, VIN: 1ZVHT88S375200007,
     UNKNOWN LICENSE NUMBER,
18
     1981 PONTIAC TRANS AM, VIN:
19   1G2AW87T1BL131624, CALIFORNIA
     LICENSE NUMBER X276321,
20
     1978 PONTIAC TRANS AM, VIN:
21   2U87L8N183594, CALIFORNIA LICENSE
     NUMBER X276485,
22
     1964 PONTIAC GTO, VIN: 824M4472,
23   CALIFORNIA LICENSE NUMBER
     7KWT492,
24
     1968 PLYMOUTH GTX, VIN:
25   RS23J8G191594, CALIFORNIA LICENSE
     NUMBER 7JZB680,
26
     1967 FORD MUSTANG FASTBACK, VIN:
27   7R02S164966, CALIFORNIA LICENSE
     NUMBER 7KWT493,
28

29
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 1   1970 DODGE CHALLENGER
     CONVERTIBLE, VIN: JH27G0B296419,
 2   CALIFORNIA LICENSE NUMBER 7JZC032,
 3   1970 PLYMOUTH SUPERBIRD, VIN:
     RM23U0A170840, CALIFORNIA LICENSE
 4   NUMBER 7KWT735,
 5   1967 FORD MUSTANG SHELBY GT 500E
     SUPERSNAKE, VIN: CSE67431F11SS030,
 6   UNKNOWN LICENSE NUMBER,
 7   1939 BUICK ROADMASTER, VIN:
     NM69226, CALIFORNIA LICENSE
 8   NUMBER 7KWT697,
 9   1962 OLDSMOBILE JETFIRE, VIN:
     621K09834, CALIFORNIA LICENSE
10   NUMBER 7NYB001,
11   1967 AUTOBIANCHI PANORAMICA
     WAGON, VIN: 120B121339, CALIFORNIA
12   LICENSE NUMBER 7LXR133,
13   1970 PLYMOUTH ROADRUNNER, VIN:
     RM21V0G160968, CALIFORNIA LICENSE
14   NUMBER 6VMA705,
15   1971 CHEVROLET CAMARO, VIN:
     124871N533590, CALIFORNIA LICENSE
16   NUMBER 7NYB002,
17   2018 PROVOST OUTLAW MOTORHOME,
     VIN: 2PCV33492GC713105, CALIFORNIA
18   LICENSE NUMBER 7KWT492,
19   2011 DODGE RAM 3500, VIN:
     3D73Y3HL9BG569763, CALIFORNIA
20   LICENSE NUMBER 8X15783,
21   2017 BENTLEY BENTAYGA, VIN:
     SJAAC2ZV9HC013881, CALIFORNIA
22   LICENSE NUMBER 7UTM149,
23   1951 CHEVROLET THIRFTMASTER 3100,
     VIN: 3JPL3991, UNKNOWN LICENSE
24   NUMBER,
25   1969 CHEVROLET EL CAMINO, VIN:
     36809Z311105, OREGON LICENSE
26   NUMBER 335JEK,
27   1969 CHEVROLET CAMARO, VIN:
     124379N652463, UNKNOWN LICENSE
28   NUMBER,
29
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 1   1969 CHEVROLET CAMARO, VIN:
     124379N675016, UNKNOWN LICENSE
 2   NUMBER,
 3   1967 CHEVROLET CAMARO, VIN:
     124377L119172, UNKNOWN LICENSE
 4   NUMBER,
 5   1967 CHEVROLET CAMARO, VIN:
     124677L137885, UNKNOWN LICENSE
 6   NUMBER,
 7   1968 CHEVROLET NOVA, VIN:
     113278W232040, UNKNOWN LICENSE
 8   NUMBER,
 9   1960 VOLKSWAGEN BEETLE, VIN:
     3003841, UNKNOWN LICENSE NUMBER,
10
     1968 FIAT 600, VIN: 2337702, UNKNOWN
11   LICENSE NUMBER,
12   1967 FIAT AUTOBIANCHI, VIN: 020239,
     UNKNOWN LICENSE NUMBER,
13
     1969 NASH METROPOLITAN, VIN: E66354,
14   UNKNOWN LICENSE NUMBER,
15   1962 CHEVROLET NOVA, VIN:
     204370154424, CALIFORNIA LICENSE
16   NUMBER 4GAM229,
17   2018 CHEVROLET VOLT, VIN:
     1G1RD6S52JU115029, CALIFORNIA
18   LICENSE NUMBER 8CBD639,
19   2018 CHEVROLET VOLT, VIN:
     1G1RD6S53JU112186, CALIFORNIA
20   LICENSE NUMBER 8CBD636,
21   2018 CHEVROLET VOLT, VIN:
     1G1RD6S59JU116355, CALIFORNIA
22   LICENSE NUMBER 8CBD638,
23   2005 FORD F-150, VIN:
     1FTPW14515FB75323, CALIFORNIA
24   LICENSE NUMBER 7Y10108,
25   2015 DODGE RAM 2500, VIN:
     3C6UR5FL9FG502250, CALIFORNIA
26   LICENSE NUMBER 65188S1,
27   2015 DODGE RAM 1500, VIN:
     3C6JR6DM5EG332861, CALIFORNIA
28   LICENSE NUMBER 75172T1,
29
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30
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 1   2015 DODGE RAM 2500, VIN:
     3D7KS26C76G117357, CALIFORNIA
 2   LICENSE NUMBER 8Y16761,
 3   1968 FIAT 500F, VIN: 1689070, UNKNOWN
     LICENSE NUMBER,
 4
     1973 FIAT 500, VIN: 5129918, UNKNOWN
 5   LICENSE NUMBER,
 6   1960 AUSTIN HEALEY 3000, VIN:
     HBT7L5195, UNKNOWN LICENSE
 7   NUMBER,
 8   2003 MERCEDES BENZ G500, VIN:
     WDCYR49E03X140019, UNKNOWN
 9   LICENSE NUMBER,
10   1967 CHEVROLET EL CAMINO, VIN:
     136807Z137048, UNKNOWN LICENSE
11   NUMBER,
12   1941 PLYMOUTH SPECIAL DELUXE, VIN:
     P10255970A, UNKNOWN LICENSE
13   NUMBER,
14   1970 PLYMOUTH ROADRUNNER, VIN:
     RM21N0E140614, UNKNOWN LICENSE
15   NUMBER,
16   1965 FORD MUSTANG FASTBACK, VIN:
     5F09T606756, UNKNOWN LICENSE
17   NUMBER,
18   1971 DODGE CHALLENGER, VIN:
     JH23G1B304722, UNKNOWN LICENSE
19   NUMBER,
20   2010 CHEVROLET CAMARO, VIN:
     2G1FT1EW1A9126145, UNKNOWN
21   LICENSE NUMBER,
22   1954 CHEVROLET BEL AIR, VIN:
     B540023782, CALIFORNIA LICENSE
23   NUMBERS AWK518/3DNW123,
24   1941 FORD MODEL T, VIN: TEX113799,
     UNKNOWN LICENSE NUMBER,
25
     1970 PLYMOUTH BARRACUDA, VIN:
26   BH23L0E101535, UNKNOWN LICENSE
     NUMBER,
27
     1966 CADILLAC COUPE DE VILLE, VIN:
28   J6200404, CALIFORNIA LICENSE NUMBER
29
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 1   SFA651,
 2   1970 PLYMOUTH SPORT SATELLITE, VIN:
     RH27GOG109624, UNKNOWN LICENSE
 3   NUMBER,
 4   1966 FORD FAIRLANE, VIN: 6H46C103584,
     UNKNOWN LICENSE NUMBER,
 5
     1968 PLYMOUTH ROADRUNNER, VIN:
 6   RM23H8G269663, UNKNOWN LICENSE
     NUMBER,
 7
     1968 PLYMOUTH ROADRUNNER, VIN:
 8   RM21J8G176738, UNKNOWN LICENSE
     NUMBER,
 9
     1968 DODGE CORONET, VIN:
10   WM21J8G244328, UNKNOWN LICENSE
     NUMBER,
11
     1968 PLYMOUTH ROADRUNNER, VIN:
12   RM21H8E122344, UNKNOWN LICENSE
     NUMBER,
13
     1971 CHEVROLET EL CAMINO, VIN:
14   136801L154531, UNKNOWN LICENSE
     NUMBER,
15
     1967 FORD MUSTANG SUPERSNAKE, VIN:
16   CSE67431F51SS058, UNKNOWN LICENSE
     NUMBER,
17
     1970 PLYMOUTH ROADRUNNER, VIN:
18   RM23H9G229326, UNKNOWN LICENSE
     NUMBER,
19
     1969 DODGE DAYTONA SUPERBIRD, VIN:
20   XX29L9B410796, UNKNOWN LICENSE
     NUMBER,
21
     1972 OLDSMOBILE CUTLASS, VIN:
22   3G87H2M139607, UNKNOWN LICENSE
     NUMBER,
23
     1965 BUICK SKYLARK, VIN:
24   444275Z123947, UNKNOWN LICENSE
     NUMBER,
25
     1970 CHEVROLET CHEVELLE, VIN:
26   136370R206402, UNKNOWN LICENSE
     NUMBER,
27
     1965 FORD MUSTANG FASTBACK, VIN:
28   5R09A135014, UNKNOWN LICENSE
29
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 1   NUMBER,
 2   1979 PONTIAC FIREBIRD TRANS AM, VIN:
     2X87Z9L158353, UNKNOWN LICENSE
 3   NUMBER,
 4   1969 CHEVROLET CAMARO, VIN:
     1G1FP31E1KL204902, UNKNOWN LICENSE
 5   NUMBER,
 6   1986 CHEVROLET CAMARO, VIN:
     1G1FP87F7GL161820, UNKNOWN LICENSE
 7   NUMBER,
 8   1962 FORD F-100, VIN: F10JK295453,
     UNKNOWN LICENSE NUMBER,
 9
     1940 CADILLAC LIMOUSINE, VIN:
10   3320188, UNKNOWN LICENSE NUMBER,
11   1978 JEEP CJ-7, VIN: J8F93EH014818,
     UNKNOWN LICENSE NUMBER,
12
     1972 DODGE TRUCK, VIN:
13   W14AE2S578707, UNKNOWN LICENSE
     NUMBER,
14
     1928 FORD MODEL A, VIN: MBPGSIN7725,
15   UNKNOWN LICENSE NUMBER,
16   1926 FORD MODEL T, VIN: OR17679942,
     UNKNOWN LICENSE NUMBER,
17
     1929 FORD, VIN: 1131945, UNKNOWN
18   LICENSE NUMBER,
19   1936 FORD TRUCK, VIN: 183242651,
     UNKNOWN LICENSE NUMBER,
20
     1950 CHEVROLET TRUCK, VIN:
21   CKL148Z152798, UNKNOWN LICENSE
     NUMBER,
22
     1969 PLYMOUTH ROADRUNNER, VIN:
23   RM23H9G283783, UNKNOWN LICENSE
     NUMBER,
24
     1967 FORD MUSTANG SUPERSNAKE, VIN:
25   TEX114250, UNKNOWN LICENSE
     NUMBER,
26
     1970 CHEVROLET CAMARO, VIN:
27   124870L506468, UNKNOWN LICENSE
     NUMBER,
28

29
                                                           Stipulation and Order to Extend Time to File
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30
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 1   1971 PLYMOUTH SCAMP, VIN:
     VH23G1R294584, UNKNOWN LICENSE
 2   NUMBER,
 3   2008 MASERATI GRANTURISMO, VIN:
     ZAMGJ45A380036731, UNKNOWN
 4   LICENSE NUMBER,
 5   1967 CHEVROLET TRUCK, VIN:
     CE147Z133816, CALIFORNIA LICENSE
 6   NUMBERS RSICK67/8D62591,
 7   1941 PLYMOUTH SPECIAL DELUXE, VIN:
     11142858, UNKNOWN LICENSE NUMBER,
 8
     1955 CHEVROLET TRUCK, VIN:
 9   H255L012288, UNKNOWN LICENSE
     NUMBER,
10
     1968 CHEVROLET CHEVELLE, VIN:
11   136378K132288, UNKNOWN LICENSE
     NUMBER,
12
     1932 FORD CUSTOM ROADSTER, VIN:
13   0R83925, UNKNOWN LICENSE NUMBER,
14   1940 FORD BOYD CODDINGTON, VIN:
     546681152, UNKNOWN LICENSE NUMBER,
15
     1935 CHEVROLET 3100 TRUCK, VIN:
16   L255B031278, CALIFORNIA LICENSE
     NUMBER 94606U1,
17
     1957 FORD THUNDERBIRD, VIN:
18   D7FH369458, UNKNOWN LICENSE
     NUMBER,
19
     1961 CHEVROLET TRUCK, VIN:
20   1C1440109424, CALIFORNIA LICENSE
     NUMBER 6W64129,
21
     1961 DODGE POWER WAGON, VIN:
22   83925236, UNKNOWN LICENSE NUMBER,
23   1970 HARLEY DAVIDSON SERVI-CAR,
     VIN: 5A19643H0, CALIFORNIA LICENSE
24   NUMBER 14B2350,
25   1972 CHEVROLET CAMARO, VIN:
     1Q87F2N134751, CALIFORNIA LICENSE
26   NUMBER 4GWX504,
27   1979 DODGE LIL RED EXPRESS TRUCK,
     VIN: D13JS9S174467, CALIFORNIA
28   LICENSE NUMBER X275592,
29
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 1   1989 NISSAN SKYLINE, VIN:
     HCR32025104, UNKNOWN LICENSE
 2   NUMBER,
 3   2000 PORSCHE BOXSTER, VIN:
     WP0CA2982YU626068, UNKNOWN
 4   LICENSE NUMBER,
 5   2005 BENTLEY CONTINENTAL GT, VIN:
     SCBCR63W85C025761, CALIFORNIA
 6   LICENSE NUMBER 5LFY310,
 7   2008 DODGE CHARGER NASCAR,
     UNKNOWN VIN, UNKNOWN LICENSE
 8   NUMBER,
 9   2017 CENTURION BOAT WITH TRAILER,
     VIN: FINS1554F717, UNKNOWN LICENSE
10   NUMBER,
11   2018 ACE 30.2 MOTORHOME, VIN:
     1F65F5DY1J0A06332, CALIFORNIA
12   LICENSE NUMBER 8AEY290, and
13   U.S. CONSTITUTION CUSTOM
     MOTORCYCLE, VIN: 1C9HB21005N969046,
14   UNKNOWN LICENSE NUMBER,
15                           Defendants.
16          It is hereby stipulated by and between the United States of America and potential claimants
17 Jeffrey Carpoff, Paulette Carpoff (“claimants”), by and through their respective counsel as follows:

18          1.       On or about December 18, 2018, the Federal Bureau of Investigation seized the above-
19 referenced defendant assets pursuant to Federal seizure warrants (hereafter collectively “defendant
20 assets”).

21          2.       Under 18 U.S.C. §§ 983(a)(1)(A)(i)-(iv), and 983(a)(3)(A), the United States is required
22 to send notice to potential claimants, file a complaint for forfeiture against the defendant assets, or

23 obtain an indictment alleging that the defendant assets are subject to forfeiture within ninety days of

24 seizure, unless the court extends the deadline for good cause shown or by agreement of the parties. That

25 deadline is March 18, 2019.
26          3.       As provided in 18 U.S.C. § 983(a)(3)(A), the parties wish by agreement to extend to June
27 18, 2019, the time in which the United States is required to file a civil complaint for forfeiture against

28 the defendant assets and/or to obtain an indictment alleging that the defendant assets are subject to

29
                                                                             Stipulation and Order to Extend Time to File
                                                         13
                                                                             Complaint
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 1 forfeiture.

 2          4.       Accordingly, the parties agree that the deadline by which the United States shall be

 3 required to file a complaint for forfeiture against the defendant assets and/or to obtain an indictment

 4 alleging that the defendant assets are subject to forfeiture shall be extended to June 18, 2019.

 5 Dated: 3/15/2019                                       McGREGOR W. SCOTT
                                                          United States Attorney
 6

 7                                                 By:    /s/ Kevin C. Khasigian
                                                          KEVIN C. KHASIGIAN
 8                                                        Assistant U.S. Attorney
 9

10 Dated: 3/15/2019                                       /s/ Malcolm Segal
                                                          MALCOLM SEGAL
11                                                        Attorney for Potential Claimant
                                                          Jeffrey Carpoff
12

13 Dated: 3/15/2019                                       /s/ Paul Meltzer
                                                          PAUL MELTZER
14                                                        Attorney for Potential Claimant
                                                          Paulette Carpoff
15
                                                          (Signatures authorized by email)
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18          IT IS SO ORDERED.

19 Dated: March 28, 2019
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21

22                                                    Troy L. Nunley
                                                      United States District Judge
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                                                                            Stipulation and Order to Extend Time to File
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                                                                            Complaint
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